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   7                         UNITED STATES DISTRICT COURT
   8                       SOUTHERN DISTRICT OF CALIFORNIA
                                  SAN DIEGO DIVISION
   9
  10   M.M.M., on behalf of his minor child,
       J.M.A., et al.,                             Case No. 3:18-cv-1832-DMS
  11
  12                    Plaintiffs,
  13   v.
  14   Jefferson Beauregard Sessions, III,
       Attorney General of the United States,
  15   et al.,
  16                    Defendant.
  17
       Ms. L, et al.,                              Case No. 3:18-cv-428-DMS
  18
  19                    Plaintiff,                 ORDER
  20   v.
  21   U.S. Immigration and Customs
       Enforcement, et al.,
  22
                        Defendant.
  23
  24
                                           ORDER
  25
  26            UPON CONSIDERATION of the Parties Joint Motion to Amend July 8, 2018

  27   Protective Order, no opposition, and the record herein, it is, this 28th day of March
  28


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   1   2019;
   2
                      ORDERED, that the Parties Joint Motion to Amend July 8, 2018
   3
   4   Protective Order is hereby GRANTED;
   5                  ORDERED, that the July 8, 2018 Protective Order, and the terms and
   6
       conditions governing the production of confidential materials and information set out
   7
   8   in that document, shall equally apply to the Parties for purposes of facilitating and
   9   implementing the Court’s November 15, 2018 Order Certifying the Settlement
  10
       Classes and Granting Final Approval of Class Action Settlement (3:18-cv-428-DMS
  11
  12   (S.D. Cal) (ECF 321)), and it is further,
  13
                      ORDERED, that Section I of the July 8, 2018 Protective Order is
  14
       amended as follows (amended text is in redline):
  15
  16            I.     Plaintiffs and Defendants (collective, the “Parties”) in the above
                captioned action Ms. L., et al., v. U.S. Immigration and Customs
  17
                Enforcement, et al., Case No. 3:18-cv-00428-DMS (“Litigation” or
  18            “Action”) recognize that information about putative or confirmed class
                members and their children exchanged by the Parties in the Litigation
  19
                for the purpose of facilitating compliance with the Court’s preliminary
  20            injunction order and/or implementing the Court’s November 15, 2018
                Order Certifying the Settlement Classes and Granting Final Approval of
  21
                Class Action Settlement (3:18-cv-428-DMS (S.D. Cal) (ECF 321)) may
  22            include private information related to individuals in the custody and care
                of the United States Government and that such materials may
  23
                reasonably, in good faith, be confidential and protected from disclosure
  24            to the public or to one or more of the Parties under Rule 26(c) of the
                Federal Rules of Civil Procedure.
  25
  26                  ORDERED, that Paragraph 1 of the July 8, 2018 Protective Order is
  27
       amended as follows (amended text is in redline):
  28
                                                   -2-

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   1            1.     Scope. The following terms govern with respect to class
   2            information exchanged by the Parties in the Litigation for the purpose
                of facilitating compliance with the Court’s preliminary injunction order
   3            and/or implementing the Court’s November 15, 2018 Order Certifying
   4            the Settlement Classes and Granting Final Approval of Class Action
                Settlement (3:18-cv-428-DMS (S.D. Cal) (ECF 321)) (collectively
   5            “Protected Material”).
   6
                ORDERED, that Section 6(j) of the July 8, 2018 Protective Order is amended
   7
   8   as follows (amended text is in redline):
   9            6.      Access to Protected Material. . . .
  10            j.      Any individuals or persons who Class Counsel designates for the
                purpose of facilitating the reunification of Class Members and their
  11            children and/or implementing the Court’s November 15, 2018 Order
  12            Certifying the Settlement Classes and Granting Final Approval of Class
                Action Settlement (3:18-cv-428-DMS (S.D. Cal) (ECF 321)), including
  13
                (but not limited to) nonprofit organizations, lawyers, faith-based groups,
  14            shelters, or any other organization or individuals who may be able to
                assist in thate reunification process. Given the urgency of the deadlines
  15
                in the Court’s preliminary injunction order, the individuals or persons
  16            described in this paragraph may receive a limited set of PROTECTED
                MATERIAL as follows prior to executing Exhibit A, the
  17
                Acknowledgment, as long as the information is treated as protected
  18            under this Order, and an Acknowledgment is signed within a reasonable
                time thereafter. Information which may be shared for the purpose of
  19
                facilitating the reunification of Class Members and their children and/or
  20            implementing the Court’s November 15, 2018 Order Certifying the
                Settlement Classes and Granting Final Approval of Class Action
  21
                Settlement (3:18-cv-428-DMS (S.D. Cal) (ECF 321)) includes Class
  22            Members’ names and the name(s) of the class member’s child(ren);
                Alien Number for the Class Member and his or her child(ren); detention
  23
                location or other location information regarding the Class Member and
  24            his or her child(ren). The individuals or persons described in this
                paragraph may receive any additional PROTECTED MATERIAL
  25
                necessary to assist in facilitating reunification and/or implementing the
  26            Court’s November 15, 2018 Order Certifying the Settlement Classes
  27            and Granting Final Approval of Class Action Settlement (3:18-cv-428-
                DMS (S.D. Cal) (ECF 321)) related to the class member(s) they are
  28            serving or being consulted to serve after signing the Acknowledgment.
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   1            The individual or organization may not receive information about any
   2            other class members.
   3            ORDERED, that Paragraph 13 of the July 8, 2018 Protective Order is amended
   4
       as follows (amended text is in redline):
   5
   6            13. This Order Only Applies To The Exchange of Information
                About Putative or Confirmed Class Members and Their Children
   7            For The Purpose Of Facilitating Compliance With The Court’s
   8            Preliminary Injunction Order and/or implementing the Court’s
                November 15, 2018 Order Certifying the Settlement Classes and
   9            Granting Final Approval of Class Action Settlement (3:18-cv-428-
  10            DMS (S.D. Cal) (ECF 321)). Nothing contained in this Order shall
                restrict or limit any Party’s right to present Protected Material to the
  11            Court during a trial in the Action. The use of Protected Material at trial
  12            shall be governed by the pretrial order.
  13
                      ORDERED, that any exchange or dissemination of confidential
  14
       materials and information are subject to the conditions set forth in the July 8, 2018
  15
  16   Protective Order, inclusive of the new amended terms/provisions relating to the
  17
       Protective Order’s broader scope and applicability as a result of the Court’s
  18
       November 15, 2018 Class Action Settlement. This Order shall be construed as a
  19
  20   lawful order pursuant to the Privacy Act permitting release consistent with the terms
  21
       of this Order.
  22
                IT IS SO ORDERED
  23
  24    Dated: March 28, 2019
  25
  26
  27
  28
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